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United States District Court
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
KATELYN HANKS §
§
Vv. 8 CIVIL ACTION NO. 3:19-CV-2207-S
§
LA MICHOACANA MEAT MARKET §
TM HOLDINGS, LLC and ROADE §
PROPERTIES LTD. §

ORDER
This Order addresses the parties’ Joint Stipulation to Approve Consent Decree and to
Dismiss Defendants with Prejudice [ECF No. 21]. The Court understands the parties have settled
this case, and therefore grants the Motion to Dismiss the case with prejudice. Unless otherwise
agreed, each party will bear their own attorneys’ fees and costs, All relief not expressly granted is
denied.
SO ORDERED.

SIGNED January 21, 2020.

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KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 
